                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                               )
     In re:                                                    )   Chapter 11
                                                               )
     BIG VILLAGE HOLDING LLC, et al.,1                         )   Case No. 23-10174 (CTG)
                                                               )
                                         Debtors.              )   (Jointly Administered)
                                                               )
                                                               )   Related to Docket No. 130

        STIPULATION BY AND AMONG THE ADMINISTRATIVE AGENT AND
      THE COMMITTEE PURSUANT TO THE FINAL CASH COLLATERAL ORDER

           This stipulation (this “Stipulation”) is entered into by and among: (a) the Official

Committee of Unsecured Creditors (the “Committee”) of the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) and (b) BNP Paribas, as administrative agent and

collateral agent (the “Administrative Agent”) under that certain Amended and Restated Credit and

Guaranty Agreement, dated as of November 17, 2020 (as amended, restated, supplemented, or

otherwise modified, the “Prepetition Credit Agreement,” and together with all other related

documents, guarantees, and agreements executed in connection with the Prepetition Credit

Agreement, the “Prepetition Financing Documents”). The Committee and the Administrative

Agent are collectively referenced herein as the “Parties.”

           WHEREAS, on February 8, 2023, the Debtors filed voluntary petitions for relief under

chapter 11 of title 11 of the United States Code before the United States Bankruptcy Court for the

District of Delaware (the “Court”).




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    The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
    numbers, are: Big Village Holding LLC (6595); Big Village Group Holdings LLC (5882); Big Village Group Inc.
    (6621); Big Village Insights, Inc. (8960); Big Village Media LLC (7288); EMX Digital, Inc. (5543); Big Village
    USA Corporation, Inc. (3414); Big Village Agency, LLC (0767); Balihoo, Inc. (9666); Deep Focus, Inc. (8234);
    and Trailer Park Holdings Inc. (1447). The Debtors’ service address is 301 Carnegie Center, Suite 301, Princeton,
    NJ 80540.
          WHEREAS, on March 13, 2023, the Court entered the Final Order (A) Authorizing the

Debtors’ Use of Cash Collateral; (B) Granting Adequate Protection to the Prepetition Secured

Parties, (C) Scheduling a Final Hearing, and (D) Granting Related Relief [Docket No. 130]

(the “Final Order”).2 The Final Order, among other things, set a Challenge Deadline of 11:59:59

p.m. (ET) on Tuesday, April 25, 2023 by which any party in interest may assert a Challenge to the

Debtors’ admissions, stipulations, agreements, releases, and waivers in favor of the Prepetition

Secured Parties under the Final Order.

          WHEREAS, in order to clarify and resolve certain matters among the Parties with respect

to the Challenge contemplated by the Final Order, the Parties have agreed to enter into this

Stipulation.

          NOW, THEREFORE, the Parties, by and through their respective undersigned counsel,

hereby stipulate and agree as follows:

          1.        The Prepetition Secured Liens are valid, binding, perfected, duly recorded, and

enforceable liens on, and security interests in, the Prepetition Collateral (as defined in the Final

Order); provided, however, that the Prepetition Secured Liens do not include, and do not attach to,

the following assets of the applicable Debtors:3 (a) any owned or leased real estate, including the

proceeds thereof; (b) any commercial tort claims, including the proceeds thereof; (c) any deposit

accounts at any bank or financial institution that are not covered by a control agreement in favor

of the Administrative Agent or are not otherwise under the control of the Administrative Agent,

provided, however, that the Prepetition Secured Liens extend to all funds in such deposit accounts

that constitute identifiable cash proceeds of other Prepetition Collateral; (d) any insurance policies,




2
    Each capitalized term that is not defined herein will have the meaning ascribed to such term in the Final Order.
3
    Debtor Big Village Holding LLC is neither an obligor nor a pledgor under the Prepetition Financing Documents.

                                                           2
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including the proceeds thereof; and (e) any Excluded Assets4 (as defined in the Prepetition

Financing Documents), including the proceeds thereof. The Committee reserves its rights to assert

a Challenge or an objection to confirmation of a proposed chapter 11 plan for the Debtors (a

“Plan”) as to the extent of the Prepetition Secured Liens over the funds in the deposit accounts

referenced in sub-paragraph (c) of this paragraph, until the earlier of: (i) conversion or dismissal

of any of the Debtors’ chapter 11 cases or (ii) the deadline for the Committee to assert an objection

to any Plan. The Administrative Agent reserves its rights to object to such a Challenge or objection

to any Plan.

          2.        Except as expressly set forth in paragraph 1, the Committee shall not assert any

Challenge against the Prepetition Secured Parties; provided, however, for the avoidance of doubt,

all rights of the Committee are preserved to contest: (a) the allowance of any interest (or default

rate interest) paid or accrued under the Prepetition Financing Documents for the period after the

Petition Date and (b) any adequate protection or diminution claim that may be asserted by any of

the Prepetition Secured Parties against the Debtors’ estates.

          3.        This Stipulation will be binding and effective upon execution by the Parties hereto.

This Stipulation may not be amended or modified without the written consent of the Parties. This

Stipulation may be executed in counterparts by facsimile or other electronic transmission, each of

which will be deemed an original, and all of which when taken together will constitute one

document.




4
 For the avoidance of doubt, Excluded Assets include, without limitation, Equity Interests in Foreign Subsidiaries
and Foreign Subsidiary Holding Companies (other than a pledge of the capital stock of a first tier Foreign Subsidiary
or Foreign Subsidiary Holding Company, in each case, not exceeding 65% of the voting stock and 100% of the non-
voting stock of such Foreign Subsidiary or Foreign Subsidiary Holding Company, as applicable), assets of Foreign
Subsidiaries and Foreign Subsidiary Holding Companies, and Indebtedness of Foreign Subsidiaries and Foreign
Subsidiary Holding Companies owed to a Credit Party (each capitalized term in this sentence as defined in the
Prepetition Financing Documents).

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          4.        The Court will retain jurisdiction over all matters related to this Stipulation and the

Final Order.



                                        [remainder of page intentionally blank]




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 Dated: April 25, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

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                             /s/_L. Katherine Good________________________

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